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               IN THE UNITED STATES DISTRICT COURT        February 03, 2025
              FOR THE WESTERN DISTRICT OF VIRGINIA -"63"""645*/ $-&3,
                        DANVILLE DIVISION          #:
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UNITED STATES OF AMERICA                       )
                                               )
                                               )      Case No. 4:10CR00010
                                               )
v.                                             )     OPINION AND ORDER
                                               )
DARYL WENDELL BARLEY,                          )       JUDGE JAMES P. JONES
                                               )
                  Defendant.                   )

       Ronald M. Huber, Assistant United States Attorney, Charlottesville, Virginia,
for United States; Beatrice F. Diehl, Assistant Federal Public Defender, Roanoke,
Virginia, for Movant.

      Defendant Daryl Wendell Barley has filed a motion for compassionate release

pursuant to 18 U.S.C. § 3582(c)(1)(A). On February 4, 2011, Barley was sentenced

by the late United States District Judge Jackson L. Kiser for distribution of more

than fifty grams of cocaine base, in violation of 21 U.S.C. § 841(a)(1), and

possession with intent to distribute cocaine powder, in violation of 21 U.S.C.

§ 841(a)(1). Barley was sentenced to 292 months of imprisonment on each count,

to run concurrently. J., ECF No. 54. On April 21, 2015, Barley’s sentence was

reduced to 240 months of imprisonment, Order Amend. 782, ECF No. 111, and on

May 18, 2020, it was reduced to 230 months of imprisonment. Order First Step Act,

ECF No. 122. Barley contends that due to a change in the sentencing guidelines and

the steps he has taken toward rehabilitation, his sentence should be reduced to 188
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                                     717



months or fewer. He asserts that he received a longer sentence than a similarly

situated defendant would receive now.

      On January 17, 2025, President Biden commuted the defendant’s sentence of

imprisonment to expire on April 17, 2025. ECF No. 160. Even if there were

sufficient grounds for compassionate release, based on this commutation, further

reduction of the defendant’s sentence would not be appropriate.

      It is accordingly ORDERED that the defendant’s motion, ECF No. 153, and

supplemental motion, ECF No. 158, are DENIED.

                                              ENTER: February 3, 2025

                                              /s/ JAMES P. JONES
                                              Senior United States District Judge




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